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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK


LIANG YANG, Individually and on behalf of
all others similarly situated,

                            Plaintiff,                    Civil Action No. 1:21-cv-01047-FB-RLM

                    v.                                    CLASS ACTION

TRUST FOR ADVISED PORTFOLIOS,
INFINITY Q CAPITAL MANAGEMENT,
LLC, CHRISTOPHER E. KASHMERICK,
JOHN C. CHRYSTAL, ALBERT J. DIULIO,
S.J., HARRY E. RESIS, RUSSELL B. SIMON,
LEONARD POTTER, AND JAMES
VELISSARIS,

                            Defendants.


                     RULE 7.1 CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel for

Defendant Trust for Advised Portfolios (the “Trust”) makes the following disclosure:

          The Trust is a Delaware statutory trust that is registered with the United States Securities and

Exchange Commission as an open-end management investment company. The Trust has no parent

corporation. The Trust issues shares of beneficial interest in several separate series, representing

separate and distinct portfolios of assets (commonly referred to as “mutual funds”), one of which

series is called the Infinity Q Diversified Alpha Fund (the “Fund”) (IQDNX, IQDAX). The Trust is

not aware of any publicly traded corporation that owns beneficially 10% or more of the Fund’s

shares.
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Dated: March 24, 2021                 /s/ Susan F. DiCicco
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                                      *Pro hac vice application forthcoming

                                      Counsel for Defendants Trust for Advised
                                      Portfolios; John C. Chrystal; Albert J. DiUlio,
                                      S.J.; Christopher E. Kashmerick; Harry E.
                                      Resis; and Russell B. Simon




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